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                                                       February 11, 2021
BY ECF and EMAIL

Hon. Mark W. Pedersen
United States Magistrate Judge
Western District of New York
100 State Street
Rochester, New York 14614
pedersen@nywd.uscourts.gov

               Re:     Wishart v. Welkley et al., Case No. 19-cv-6189 (DGL) (MJP)

Your Honor,

        We write as Plaintiff’s counsel in response to defense counsel’s February 9, 2021 email
requesting a conference to discuss a dispute about e-discovery (attached hereto Ex. 1). Incredibly,
after more than a year and a half of intense litigation about the collection of Defendants’
electronically stored information (“ESI”), which resulted in the recent sanctions Order for defense
counsel’s “delays and misrepresent[ations] concerning the same (ECF Doc. 83, at 8) – defense
counsel now refuses to provide access to previously-undisclosed ESI sources, which are needed to
complete ESI collection as directed by the Court. Defendants never identified these ESI sources
in their discovery disclosures and defense counsel repeatedly omitted them from the list of
available sources of ESI. Mr. Deutsch never mentioned them in the several meet-and-confers we
had, including a meet-and-confer ordered by the Court (see ECF Doc. 36, at 5 (“the Court directs
the parties to meet and confer . . . on the issue of electronically stored evidence”). Plaintiff only
discovered these missing sources of ESI during Defendants’ depositions. Now, Mr. Deutsch asks
this Court to deem a hypothetical list of ESI sources – hypothetical because Mr. Deutsch refuses
to identify what ESI sources are at issue – off limits for completing the ESI collection. This request
is meritless for three reasons: (1) the objection conflates ESI with ESI sources, i.e., access to these
sources is needed to collect ESI that is stored on the devices; (2) defense counsel has failed to
provide the basic facts necessary to his application by refusing even to identify the ESI sources at
issue; and (3) it is untimely and was waived more than a year ago.

       I.      Background

        Plaintiff has spent dozens of hours over the past year trying to obtain an accurate list of the
ESI sources in the Defendants’ custody. See, e.g., Pl.’s First Mot. for Sanctions at 4-5 (ECF
Doc. 39) (“At the parties’ second meet and confer on April 30, [2020,] Defendants’ counsel was
still unable to identify the ESI sources his clients had provided access to or what ESI collection
his office had conducted.”). Obtaining such a list is traditionally a simple step that occurs at the
very beginning of the e-discovery process. E-discovery in this case has been anything but simple.
After all this time, and after Defendants have submitted sworn statements and representations to
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both Plaintiff and the Court, Plaintiff is still discovering new ESI sources in the defendants’
possession that were not previously identified.

       For example, in November 2020, when Defendant Rice was deposed, he testified that he
has had his current cell phone since November 2019, but he did not provide that phone to the
attorney general in February 2020 when he provided his old phone. Ex. 2 (Rice Dep. 142-147).
And Defendant Bright testified in his deposition that he has had his current iPhone 11 for
approximately a year, but he could not recall if he took that phone to the Attoney General office;
he could recall taking his older phone, an iPhone XR, which he then traded in so it is no longer
available. Ex. 3 (Bright Dep. 35-39).

        After the depositions, we wrote to defense counsel on November 16, 2020 concerning ESI
sources that he had not identified previously and were identified for the first time in the defendants’
depositions. See Ex. 4. That letter was filed with the Court on November 27, 2020 as part of
Plaintiff’s motion for sanctions, which the Court granted. See ECF Doc. 77-7. Mr. Deutsch never
responded to our letter. Finally, nearly four months after our initial inquiry and after we twice
asked Mr. Deutsch to respond, he sent the email attached here as Exhibit 5. That email argued,
“[p]hones that were bought or social media accounts that were created after the discovery demands
were issued will not be produced” for ESI collection. However, Mr. Deutsch also stated, “I am
not representing at this time that anything was bought or created before or after the demands
were issued,” which only further confused the issue.

         Following that email, we conferred with Mr. Deutsch by telephone on February 9. During
that call, Mr. Deutsch refused to identify what ESI sources were being withheld. Instead, he argued
that he should not have to produce for ESI collection any phones or social media accounts that
defendants did not have at the time his lab collected ESI over the past year. As noted above,
Mr. Rice testified that he had his current phone, which has not been collected, at the time he
provided his previous phone to the Attorney General’s lab for collection.

       II.     By conflating ESI with ESI Sources, Defendants are Withholding Relevant
               ESI

        Defendants’ rationale for withholding certain ESI sources appears to rest on a
misunderstanding about e-discovery, which conflates ESI with ESI sources. Whether a phone or
cloud-based account was “extant and operational within three years of the incident alleged” says
nothing about what ESI exists on that phone. A phone bought today will immediately, or very
shortly, have ESI on it from years before. That occurs by importing data from an older phone,
which most cell phone providers do automatically, see, e.g., Ex. 3 (Bright Dep. 37:13-19) (“when
I bought my new phone they took everything that was on the XR and they placed it on my current
phone, so what was ever on my XR is on this phone that I currently have”), or by using applications
that bring ESI onto the phone from the cloud. Thus, there is no merit to Defendants’ objection to
providing access to current phones and cloud-based accounts in order to retrieve the ESI that is
stored in those sources.
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         Accessing ESI on all available sources in the defendants’ custody is critical because
Defendants have admitted in their depositions that they failed to properly preserve ESI throughout
this litigation. This testimony is cited in the Reply Memorandum of Law that Plaintiff filed in
support of his most recent sanctions motion (ECF Doc. 76, at 5-7). The fact that several cell
phones have been mysteriously lost or destroyed and emails and text message have been
intentionally deleted is all the more reason why it is critical to collect ESI from all available
sources. There may be emails or text messages on a current phone that are no longer accessible
from one of the phones that was lost or destroyed or that were deleted from a cloud-based account.

        This is not the first time that defense counsel has misconstrued this issue. Indeed,
Defendants asked the Court to limit the timeframe for ESI discovery in opposing Plaintiff’s most
recent motion for sanctions (see ECF Doc. 75, at 10), but the Court did not grant that request. The
question of what ESI must ultimately be produced cannot be decided until all ESI has been
collected from available ESI sources and appropriate searches have been performed. See Winfield
v. City of New York, No. 15-CV-05236 (LTS)(KHP), 2017 WL 5664852, at *4 (S.D.N.Y. Nov. 27,
2017) (explaining that the relevant custodians’ ESI must be collected before the appropriate
searches can be determined). Because of defense counsel’s “delays and misrepresent[ations],” ESI
collection has not even been completed (ECF Doc. 83). It is incredible to now hear defense counsel
object yet again to the window of ESI that should be collected when that issue has been so
thoroughly resolved by the various orders of this Court it is frivolous for counsel to re-argue it
again now.

       III.    Defendants Have Not Even Identified What is Being Withheld

         Defendants also apparently seek an advisory opinion, asking this Court to rule on the scope
of discovery without telling the Court what is being withheld. In fact, Mr. Deutsch has said, “I
am not representing at this time that [any ESI source] was bought or created before or after
[Plaintiff’s discovery] demands were issued.” Ex. 5. Thus, it is unclear what sources are
actually at issue. Defendants never supplemented their discovery responses as they were required
to do when they obtained when they obtained new ESI sources, see Robbins & Myers, Inc. v. J.M.
Huber Corp., 274 F.R.D. 63, 77 (W.D.N.Y. 2011), and purposefully omitted those sources from
the list of available ESI sources throughout the past year of litigating this issue. Plaintiff only
discovered the problem during depositions, and we still have not completed depositions of all of
the Defendants yet. Plaintiff and this Court should not have to guess at what discovery is at issue
on Defendants’ application, nor wait for Defendants to lodge new objections after withheld
evidence is uncovered in Defendants’ depositions. Defendants have the responsibility to disclose
this information accurately, and promptly. Defense counsel’s current application essentially
abdicates counsel’s responsibility to conduct discovery and asks the Court to micromanage every
detail of this process, but without actually providing the Court with the necessary information to
make an informed decision.

       IV.     Defendants Waived their Objection

      By failing to raise their present objection in any way over the past year-and-a-half,
Defendants have waived this objection. In 2015, the Federal Rules of Civil Procedure were
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amended to require parties to make objections with specificity. This was supposed to be the end
of the common defense practice of making blunderbuss objections that make it impossible to know
whether evidence is actually being withheld. Magistrate Judge Andrew Peck in the Southern
District of New York became so frustrated with that practice that he issued a powerful warning to
the bar: “From now on in cases before this Court, any discovery response that does not comply
with Rule 34’s requirement to state objections with specificity (and to clearly indicate whether
responsive material is being withheld on the basis of objection) will be deemed a waiver of all
objections (except as to privilege).” Fischer v. Forrest, No. 14-CV-1304 (PAE) (AJP), 2017 WL
773694, at *3 (S.D.N.Y. Feb. 28, 2017) (emphasis added).

         Defendants clearly violated this rule by never stating in their discovery responses that they
were withholding ESI sources. For example, in response to Plaintiff’s request for ESI mentioning
Mr. Wishart, Ex. 6 (Doc. Request 24), Defendants made several generic objections, but never
objected to the time period or burden of ESI collection, which is clear waiver. See Star Direct
Telecom, Inc. v. Glob. Crossing Bandwidth, Inc., 272 F.R.D. 350, 359 (W.D.N.Y. 2011) (finding
that a failure to make a timely burdensomeness objection to an ESI request is waiver).

        Moreover, to the extent Defendants obtained a cell phone or created a social media account
after serving their initial responses to Plaintiff’s discovery demands, they were under a continuing
obligation to supplement their discovery responses. See Fed. R. Civ. P. 26(e); Robbins, 274 F.R.D.
at 77. To have it any other way, a defendant served with a discovery demand for ESI could simply
“upgrade” his phone, transfer the data to his new phone, and then respond to the demand by stating
he has no responsive ESI. That is essentially defense counsel’s position, and it would clearly
violate Rule 26.

        Finally, any present claim of burden is absurd. Two of the phones were in the Defendants’
possession at the time they provided their older phones to Mr. Deutsch’s office for collection. Had
those defendants provided their phones to the lab last year, that data would have been collected
already and could be sent now to the ESI vendors that the Court has ordered Defendants to hire to
complete e-discovery. Instead, that data was never collected and will now need to be collected by
the outside vendors. Thus, it is Defendants who are responsible for any additional expense of this
collection. Moreover, since defense counsel has refused to say how many other potential sources
of ESI exist that need to be collected ab initio, the Court has no way to determine what the burden
would be.

      Both under the Federal Rules, and this Court’s prior Orders, this objection should have
been made long ago, so that Plaintiff could meet and confer, and incorporate any disputes into the
motions. They did not, so this is waived.
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       For the foregoing reasons, defense counsel’s present application is frivolous and should be
denied summarily. However, we are prepared to discuss this matter further at a conference should
the Court grant that request.

                                                    Respectfully,

                                                          /s/

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                                                    Rob Rickner
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cc:    Hillel Deutsch (by ECF)
